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                  IN THE UNITED STATES DISTmCTCouRT
                  FOR THE MIDDLE DISTRICT O•IBAMA

FRANCES NICOLE SPRAYBERRY,)                        fl Uv -8 A ii : 12

                          )                      JERA P. FcETT rLc
        Plaintiff.                                  L ['        Ci LO      I
                                                           C'
                                                                I \ '-'   ALA
                          )
VS.                                       )    Civil Action No.: 3 J1-o
                                          )
RALPH CAMPANIO,                           )
                                          )
             Defendant.                   )

                                   COMPLAINT

      NOW COMES the Plaintiff, Frances Nicole Sprayberry and states her

claims for relief against the Defendants as follows:

       1.    This Court has jurisdiction of this controversy on grounds that the

Plaintiff is an individual resident citizen of the State of Alabama, and that the

Defendant, Ralph Campanio, is an individual resident citizen of Florida who

committed tortious acts in this state and district as set forth below. The amount in

controversy exceed $75,000.00 exclusive of interest and costs. This Court has

jurisdiction under 28 U.S.C. § 1332, based on diversity of citizenship and amount

in controversy.

      2.     On or about the 6th day of September, 2017, on a public highway in

Randolph County, Alabama namely Highway 431, inside the city of Roanoke, the


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Defendant, did negligently, recklessly and wantonly cause or allow a motor

vehicle, namely a 2007 Chevy Silverado automobile, Vehicle Identification

Number: 1GVKREC3EZ306605, which was owned by the Defendant, Ralph

Campanio himself, to collide with a motor vehicle then being driven, occupied and

operated by Plaintiff, Frances Nicole Sprayberry. The vehicle occupied and driven

by the Plaintiff, Frances Nicole Sprayberry, a 2014 Nissan Altima automobile,

Vehicle Identification Number: 1N4AL3AP0EC427179, and was owned by Mr.

Shane Burke.

       3.     As a proximate consequence of the negligence, recklessness, and

wantonness and other conduct of the Defendant, Ralph Campanio, Plaintiff,

Frances Nicole Sprayberry was seriously injured and had to seek medical attention

and suffered damage to her property.

       4.     Defendant acted grossly negligently, wantonly and otherwise such

that they are liable to Plaintiff for punitive damages as well as for the losses

described herein. Defendant Ralph Campino, is liable for all the damages suffered

by Plaintiff Frances Nicole Spraybeny, both compensatory and punitive.

       WHEREFORE, Plaintiff, Frances Nicole Sprayberry, demands judgment

against the Defendant, jointly and severally, in the sum of $250,000.00, plus costs

of this action.

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                                     Steven R. Morris (M0R122)
                                     Attorney for Plaintiff
                                     205 S Main Street
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Defendant may be served at the following addresses:

Ralph Campanio
33810 Linda Lane
Leesburg, Florida 64788
